                                           Case 01-01139-AMC      Doc 22766-45       Filed 08/13/09     Page 1 of 5


     . -_...._-,-.._" - - - ..-..;.;..:;:.::..-::;..-=--



    ).
                             3.             Consumers and bystanders are left out

                            The bill only compensates those who w~re occupationally exposed to asbestos~and then, only if .
                            in contact.with asbestos for more than ~ years-and the family members of exposed workers. It
                          . does not, for ex~ple,. qompensate the high school kids in factory towns across the country who
                           unloaded boxcars fined witlrvermiculite ore to earn. money over their summer vacations and
                         . now, maybe 20 years or more later, have developed lung disease. It m~es no provision for
                           individuals harmed by non-occupational exposure, other ilian the residents ofUbby, Montana.
                         .'The EPA currently has 28 nationwide factory site "hot spots" under priority surveillance to
                           determine the health effects of asbestos exposure. These 'sites received 80% of the Libby,
                        . Montana veriilicuIite ore sent to a total 200 factories in the U.S. where the toxic material was
                          processed for use in consumer goods. The remaining 172 sites are of secondary interest to the
                          EPA, but are also included in its survelllaJ;lce pUm. ',None ofthe coinmunity members exposed to
                          asbestos dust from factory' exhaust aIld particles transmitted widely by workers on the"ir clothing
                          and skin in any ofthese 200towns      willbe covered underthe truSt fund.                      .' .

                      AlsoexCIuded from' qualifying' for b~l1efits are consumer~ ~ho purchased and indifferentlY' used •
                      and disposed of some 3,000 commercial products containiligasbestos,including people who did
                   . their own automotive repairs such as replacing brake linings: Nor does the bill include occupants
                  . ono million houses nationwide,containing asbestos-laden·insulationin .their attics, ·the health .
                     consequences of which have as yet been unexplored-although it has been established that there.'
                     is no safe level of exposure to asbestos. It leaves out the hundreds ofthousands ofNewYorlcers
                     who.have lived and worked in the vicinity .of Ground Zero from the World Trade Center's         .
~.
.                   destruction forward. The bottom, l~e is that because the medical criteria rely on occupational
                    exposure thresholds, they exclude millions of individuals'who unwittingly incurred the risk of
                    disabling and potentially fatal disease by purchasing products or living in communities with .
                    asbestos-related industries.                                       .


                      Contacts· .
                                                 .         ' .                   '     "           ..
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                     PMlip J.. Landrigan, MD, MSc~DIH, Chair, Dept. of Community and Preventive Medicine,
                     Mount Sinai School ofMedicine. (This is New York's largest clinical facility in occupational.·
                    medicine and one of the nation's iargest research and training programs in occupational health~
                    established by Dr. Irving J. Selikoff, known: as the "Father ofAsbestos Research in the United
                    States." This department was the major provider of diagnostic services to Ground Zero workers
                    in the aftermath ofthe WorldTrade Center destruction, examining over 12,000 workers, many of
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                       Case 01-01139-AMC                          Doc 22766-45         Filed 08/13/09       Page 2 of 5


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                    .-=~
                                                                                     ._..._.._--_._'-'-----"-=-=-----




             Alan:C Whiteholl8e,MD,FCCP, Senior consulting physicianatthe Center for Asbestos '.
             Related Disease, Libby, Montana and the pulmon8.ry specialist who first identified asbestos- .'
             induced disease among workers in the W.R. Grace.mine and manlifacturing plant at Libby:
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                                                                            . #.##

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                      Case 01-01139-AMC           Doc 22766-45        Filed 08/13/09       Page 3 of 5



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                                          , Board Certified                              Deer Park,Wa 90006
                                Internal Medicine & Puhnonary Diseases                     (509) 999~5500
                                                                                         Fax (509) 276~1343
                                                 1--1 ~ loS'

                      , PRELIMINARY REPORT 'ON 79 CHEST XRAYS REVIEWED, .'
                     RELATIVE TO THE ASBESTOS INJURY RJ;:SOLUTION ACT OF 2005 '

                 'Atthe request ofJon HeberIinSt Dr Black &1d I reViewed 79'chest xrays to evaluate
         qualification for compenSation under the Asbestos injury Resolution Act of2005; This was not 11.
         controned stUdy and it was biased toward ,the more·ill patients. This occurred as all patients mys
        looked at were from Diy Spokane practice which incOl'poratecJ"manyseverely ill patients and ones
                                                                                or
        who had lost 10-15% of their Ipn.g function over a period ofseveral more Yem.All films.
        w~re reViewed carefully and nteamuements taken ofpleurfil thicknesst review ofany interstitial
        diseaSet review for blunting ofeither costo,..pbtenic angie, or charts reviewed for prior ·thoracic· , .
      . surgery that would create b1untingofa costo~phrenic angle. r have read many more films on ' .
      . patients from Libby and estimate that overall olily ,10 - 2() %of all the patients would. qualliY.. '
               .RESULTS

                 1S' patients were on oxygen with an FEVtI FVC ratio' > 65%; only 4 qualliied       ,
.\        , 8 ~tients had died~ S qualified! 3 did not qualify. All died ofrespiratorY failure from .
'~ ..' aSbestosp1eunl1 disease except one. .
                22 of 27 that. qualitled had blunting of one cOsto~phreDic angle.
                S of27 quaIified.·met the B2 reqUirement.       .
                17 patients hadFVC; TLC,and DLeo allover 80% ofpredicted(nol'Imil) and only 1
        qualified'
                ,                                          .    . .       '.         '
          , . 29 patients ha4 WCt TLC~ or DLCO 60~ 800/0 aDd considered to be in an intermediate
       rarige.l0 qualified. Allwere· very symptomatic.                      .               '.
      . .' 33 patients hadFVC, TLC, or DLCO under 60% (severe); 'orily 1() qualified,iricluding
       on1y2 of() who died.           ,    '.       .     . ' . . . . .,' -". '. ..... - - . -. -- -.
          . Oithe 71 living patients, only 22 qualified (31%). 18 ofthese had FVGs or DLCO's of
       Iesstban 70% ofprediete4..0nJy 3 of71 qualified with FVC above 80% of predieted. 2 ~fthose
      though had DLCO 's~low 10% ofpredicted.. Another sis1tifieant 'consideration is' that 'we use
      normal values (Knuds¢n, Miller), that range 5~ 10% higher than t.Qe Crapo norms used in the
    . AMA Guides to evaluation ofPermanent Impairment (5th Ed.).                .       .', .           .
               The· average FVC in this group of 79 was 65% ofprooicted and the DLCO 70% .
      (Knud.seti/ Miller). Ofthe 22 alive qualifying t 2 had 1uld :thoracic surgery whichinay have
      created the qualifying blunting ofthe' costo~phrenic angle and would exclude them from
      compensation.                                          . '                       ,
             .Only 4 of 79 patients had interstitial disea~e of 1';0 or greater,typical·ofLibby tremo lite
     disease. Libby asbestos disease is predominantly a pleural disease.
           . It is clear that the proposed law is inadequate to compensate the approximately 1500
     asbestos victims in Libby, Montana who have been identified so far. There is also no scientific
     basis for the B2 requirement or 'the angle bunting requirement outlined in the law.
     ~                                                                                                        EXHIBIT
     Alan C. Whitehouse MD                                                                            'Q.
     Spokane, Wa                                                                                      j        ./7
Case 01-01139-AMC   Doc 22766-45   Filed 08/13/09   Page 4 of 5
                      Case 01-01139-AMC             Doc 22766-45        Filed 08/13/09         Page 5 of 5


                    :"'~.'~
                                  LOG OF ASBESTOS
                                              .                  . STUDY,ON
                                                  PATIENTS CRITERIA . .  .
                                                                            02.xls
                                      ~-'-'---'='-'-'-'-~--_... _---.          .   - --_. - ----------------'-'-'-------'-"-'----


                                     FVC TLC DLCO           INT      R   R    R     L    L   L.
                                      .%  %   %                   ·THICK %- SLUNl ~HIC - % ~LUNT
        . -                                                - I

   BACHE; frank         86            96         106 NEl:3   3    30 ' NEG 2 - 30 NEG
 _BALL,irving"      77 93                        87   NEG    2    15 NEG 2 15 NEG
 ,BENEFIELD,donald 96   96                       84' NEG    3    20 NEG 4 50 NEG
" DI'cKERMAN,'lois' ,
                   .70 86                        57' NEG '3      25 NEG.. 4 25 NEG
 :FELL~NBERG;Ruben 56   45                      ,63   NEG   3    10 -VES· 6 80 YES
 HILL,dayton   .   47 58      '
                                                 40 ·NEG    5    20 YES 3 15 NEG                      r


 JOHNSON,raymond   98, 88                       71    NEG   4    40 NEG 6 40 NEG
 MCCOLLUM, bob    104 '103                      88   NEG    2    10 -NEG 3     10 NEG                                -   .
  PAUL, Claude                        61 82 ' 43' NEG 15 40' NEG 2 20 NEG -
-SHEA, lois,                          63 66    50    NEG   10 80 YES 8 50 YES
- VINSON, kay ,                       50 8t    47    NEG   3    50. NEG 2 50 NEG
 WILBURN;harold -                    116 84    53    NEG   2 '. 30" NEG '1     40 NEG
 WRAY, brian:                        80 93     59    NEG   3    70 NEG 3       50 ' NEG
 FARMER,ARTHUR                      .67 47, 72       "1/0  3    40 NEG- 3 25 NEG,
DUTTON; merritt
              '.'
                                     63 58 '.- 39    NEG   5    25 NEG 3 ·25 NEG
